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               EXHIBIT 3
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                                                                     UNITED STATES
                                                         SECURITIES AND EXCHANGE COMMISSION
                                                                  Washington, D.C. 20549
                                                                     _______________

                                                                                FORM 8-K

                                                                       CURRENT REPORT
                                               Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934


                            Date of Report (Date of earliest event reported):                                               June 27, 2019



                                                                     NIKE, Inc .
                                                       (Exact name of registrant as specified in charter)


                     OREGON                                                1-10635                                           XX-XXXXXXX
            (State or other jurisdiction                                (Commission                                         (IRS Employer
                 of incorporation)                                      File Number)                                      Identification No.)


                                        ONE BOWERMAN DRIVE
                                           BEAVERTON, OR                                                                     97005-6453
                                (Address of principal executive offices)                                                     (Zip Code)


Registrant’s telephone number, including area code:                                                                        (503) 671-6453


                                                                        NO CHANGE
                                                (Former name or former address, if changed since last report.)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions:

 r             Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

 r             Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

 r             Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

 r             Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:

          CLASS B COMMON STOCK                                              NKE                                  NEW YORK STOCK EXCHANGE
                (Title of each class)                                 (Trading Symbol)                      (Name of each exchange on which registered)

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405 of this chapter) or
Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).

Emerging growth company ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐




                                                                                                                                          Exhibit 3 - page 1
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Item 2.02 Results of Operations and Financial Condition

Today NIKE, Inc. issued a press release disclosing financial results for the fiscal quarter and full year ended May 31, 2019 . The text of the release is furnished
herewith as Exhibit 99.1.

Item 9.01 Financial Statements and Exhibits

         (d) Exhibits.

The following exhibit is furnished with this Form 8-K:


         Exhibit No.                                                                               Exhibit
             99.1                                                               NIKE, Inc. Press Release dated June 27, 2019

                                                                           SIGNATURES

        Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned hereunto duly authorized.



                                                                             NIKE, Inc.
                                                                             (Registrant)


Date:     June 27, 2019                                                            By: /s/ Andrew Campion
                                                                                       Andrew Campion
                                                                                       Executive Vice President and Chief Financial Officer




                                                                                                                                           Exhibit 3 - page 2
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Investor Contact:                                                                                                    Media Contact:
Nitesh Sharan                                                                                                         Mark Rhodes
(503) 532-2828                                                                                                      (503) 532-8877

                           NIKE, INC. REPORTS FISCAL 2019 FOURTH QUARTER
                                        AND FULL YEAR RESULTS

BEAVERTON, Ore., June 27, 2019 - NIKE, Inc. (NYSE:NKE) today reported financial results for its fiscal 2019 fourth quarter
and full year ended May 31, 2019 .

Fourth quarter revenue increased to $10.2 billion , up 4 percent on a reported basis and up 10 percent on a currency-neutral
basis*. Full year revenue rose to $39.1 billion , up 7 percent on a reported basis and up 11 percent on a currency-neutral basis,
as strategic investments in innovation and digital drove global consumer demand led by NIKE Direct in both periods.

“FY19 was a pivotal year for NIKE as we continue to bring our Consumer Direct Offense to life throughout the marketplace,” said
Mark Parker, Chairman, President and CEO, NIKE, Inc. “Our distinctive innovation and digital advantage led to accelerated
growth across our complete portfolio, while our Brand fueled deeper relationships with consumers around the globe.”**

Diluted earnings per share in the fourth quarter was $0.62 driven by revenue growth, strong gross margin expansion, and a
lower average share count, partially offset by higher selling and administrative expense and a higher tax rate. Diluted earnings
per share for the full year was $2.49 .

“Reflecting on our FY19 performance, it is clear that growth is paramount at NIKE, and that our strong growth is being driven by
strategic transformation,” said Andy Campion, Executive Vice President and CFO, NIKE, Inc. “Amid foreign exchange volatility,
our double-digit currency-neutral revenue growth and expanding ROIC showcase NIKE’s unrivaled ability to create extraordinary
value for consumers and shareholders over the long term.”**

Fourth Quarter Income Statement Review

•   Revenues for NIKE, Inc. increased 4 percent to $10.2 billion , up 10 percent on a currency-neutral basis.
    ◦ Revenues for the NIKE Brand were $9.7 billion , up 10 percent on a currency-neutral basis, driven by growth across
        NIKE Direct and wholesale, key categories including Sportswear, Jordan and Basketball, and continued growth across
        footwear and apparel.
    ◦ Revenues for Converse were $ 491 million , flat to prior year on a currency-neutral basis, mainly driven by double-digit
        growth in Asia and digital which was offset by declines in the U.S. and Europe.
•   Gross margin increased 80 basis points to 45.5 percent due primarily to higher average selling prices, impacts from foreign
    currency, and growth in NIKE Direct. These benefits were partially offset by higher product costs and supply chain
    investments.
•   Selling and administrative expense increased 9 percent to $3.4 billion . Demand creation expense was $1.0 billion , up 3
    percent to prior year due to global brand campaigns and key sports moments. Operating overhead expense increased 12
    percent to $2.4 billion driven primarily by wage-related and administrative expenses, which reflect critical investments in
    innovation, data and analytics, and new capabilities to accelerate our end-to-end digital transformation.
•   The effective tax rate was 20.4 percent , compared to 6.4 percent for the same period last year, due to several discrete
    impacts within the prior period, including adjustments to the provisional charges related to the enactment of the Tax Cuts and
    Jobs Act (the "Tax Act").
•   Net income was $989 million and diluted earnings per share was $0.62 driven by strong revenue growth, gross margin
    expansion, and a lower average share count, which were slightly offset by higher selling and administrative expense and a
    higher tax rate.

Fiscal 2019 Income Statement Review

•   Revenues for NIKE, Inc. rose 7 percent to $39.1 billion , up 11 percent on a currency-neutral basis.
    ◦ Revenues for the NIKE Brand were $37.2 billion , up 11 percent on a currency-neutral basis driven by growth across
       NIKE Direct and wholesale, key categories including Sportswear, Jordan and Running, and double-digit growth across
       footwear and apparel.
    ◦ NIKE Direct revenues were $11.8 billion , up 16 percent on a currency-neutral basis, driven by a 35 percent increase in
       digital commerce sales, 6 percent growth in comparable store sales as well as the addition of new stores. Sales to
       wholesale customers increased 10% .                                                                 Exhibit 3 - page 3
    ◦ Revenues for Converse were $1.9 billion , up 3 percent on a currency-neutral basis, mainly driven by double-digit growth
         in Asia andCase
                     digital 3:24-cv-00974-AN           Document
                             which was partially offset by declines in68-3
                                                                       the U.S. Filed 05/12/25
                                                                                and Europe.         Page 5 of 10
•    Gross margin increased 90 basis points to 44.7 percent due primarily to higher average selling prices, impacts from foreign
     currency, and growth in NIKE Direct. These benefits were partially offset by higher product costs.
•    Selling and administrative expense increased 10 percent to $12.7 billion . Demand creation expense was $3.8 billion , up
     5 percent to prior year due to sports marketing investments, global brand campaigns, key sports moments and new product
     launches. Operating overhead expense increased 13 percent to $8.9 billion driven primarily by wage-related and
     administrative expenses, which reflect critical investments in innovation, data and analytics, and new capabilities to
     accelerate our end-to-end digital transformation.
•    The effective tax rate was 16.1 percent , compared to 55.3 percent for the same period last year, due to significant charges
     related to the enactment of the Tax Act in the prior year.
•    Net income increased to $4.0 billion and diluted earnings per share was $2.49 driven by strong revenue growth, gross
     margin expansion, a lower average share count and a lower tax rate, which was partially offset by higher selling and
     administrative expense.

May 31, 2019 Balance Sheet Review

•    Inventories for NIKE, Inc. were $5.6 billion , up 7 percent compared to the prior year period, with healthy inventory levels
     across all geographies.
•    Cash and equivalents and short-term investments were $4.7 billion , $582 million lower than last year as share
     repurchases, dividends, and investments in infrastructure more than offset proceeds from net income.

Share Repurchases

During the fourth quarter , NIKE, Inc. repurchased 10.6 million shares for approximately $897 million as part of the four-year, $15
billion program approved by the Board of Directors in June 2018. As of May 31, 2019 , a total of 11.6 million had been
repurchased under this program for approximately $986 million .

In fiscal 2019, NIKE, Inc. repurchased a total of 54.3 million shares for approximately $4.3 billion under the above mentioned
$15 billion program currently in use as well as the previous $12 billion program approved by the Board of Directors in November
2015.

Conference Call

NIKE, Inc. management will host a conference call beginning at approximately 2:00 p.m. PT on June 27, 2019, to review fiscal
fourth quarter and full year results. The conference call will be broadcast live via webcast and can be accessed at
http://investors.nike.com. For those unable to listen to the live broadcast, an archived version will be available at the same
location through 9:00 p.m. PT, July 11, 2019.

About NIKE, Inc.

NIKE, Inc., based near Beaverton, Oregon, is the world’s leading designer, marketer and distributor of authentic athletic
footwear, apparel, equipment and accessories for a wide variety of sports and fitness activities. Wholly-owned NIKE, Inc.
subsidiary brands include Converse, which designs, markets and distributes athletic lifestyle footwear, apparel and accessories;
and Hurley, which designs, markets and distributes surf and youth lifestyle footwear, apparel and accessories. For more
information, NIKE, Inc.’s earnings releases and other financial information are available on the Internet at
http://investors.nike.com. Individuals can also visit http://news.nike.com and follow @NIKE.

*    See additional information in the accompanying Divisional Revenues table regarding this non-GAAP financial measure.
**   The marked paragraph contains forward-looking statements that involve risks and uncertainties that could cause actual results to differ materially. These risks and
     uncertainties are detailed from time to time in reports filed by NIKE with the U.S. Securities and Exchange Commission (SEC), including Forms 8-K, 10-Q and 10-K.


                                                                            (Tables Follow)




                                                                                                                                                Exhibit 3 - page 4
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                                                              NIKE, Inc.
                                               CONSOLIDATED STATEMENTS OF INCOME
                                                                 (Unaudited)


                                                          THREE MONTHS ENDED                %           TWELVE MONTHS ENDED               %
(Dollars in millions, except per share data)             5/31/2019         5/31/2018      Change        5/31/2019         5/31/2018     Change
Revenues                                             $       10,184    $        9,789        4%     $       39,117    $       36,397       7%
Cost of sales                                                 5,551             5,411        3%             21,643            20,441       6%
Gross profit                                                  4,633             4,378        6%             17,474            15,956      10 %
 Gross margin                                                  45.5%             44.7%                        44.7%             43.8%


Demand creation expense                                       1,014               983        3%              3,753             3,577       5%
Operating overhead expense                                    2,392             2,137       12 %             8,949             7,934      13 %
Total selling and administrative expense                      3,406             3,120        9%             12,702            11,511      10 %
 % of revenues                                                 33.4%             31.9%                        32.5%             31.6%


Interest expense (income), net                                  12                 12       —                  49                54       —
Other (income) expense, net                                     (28)               31       —                  (78)              66       —
Income before income taxes                                    1,243             1,215        2%              4,801             4,325      11 %
Income tax expense                                             254                 78      226 %              772              2,392      -68 %
 Effective tax rate                                            20.4%               6.4%                       16.1%             55.3%


NET INCOME                                           $         989     $        1,137       -13 %   $        4,029    $        1,933     108 %


Earnings per common share:
 Basic                                               $         0.63    $         0.71       -11 %   $         2.55    $         1.19     114 %
 Diluted                                             $         0.62    $         0.69       -10 %   $         2.49    $         1.17     113 %


Weighted average common shares outstanding:
 Basic                                                      1,570.2            1,605.7                     1,579.7           1,623.8
 Diluted                                                    1,607.5            1,641.2                     1,618.4           1,659.1


Dividends declared per common share                  $         0.22    $         0.20               $         0.86    $         0.78




                                                                                                                           Exhibit 3 - page 5
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                                                         NIKE, Inc.
                                                CONSOLIDATED BALANCE SHEETS
                                                          (Unaudited)


                                                                                    May 31,           May 31,
(Dollars in millions)                                                                2019              2018           % Change
ASSETS
Current assets:
  Cash and equivalents                                                          $         4,466 $          4,249           5%
  Short-term investments                                                                      197               996       -80 %
  Accounts receivable, net                                                                4,272            3,498          22 %
  Inventories                                                                             5,622            5,261           7%
  Prepaid expenses and other current assets                                               1,968            1,130          74 %
Total current assets                                                                     16,525           15,134           9%
  Property, plant and equipment, net                                                      4,744            4,454           7%
  Identifiable intangible assets, net                                                         283               285        -1 %
  Goodwill                                                                                    154               154        0%
  Deferred income taxes and other assets                                                  2,011            2,509          -20 %
TOTAL ASSETS                                                                    $        23,717 $         22,536           5%
LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities:
  Current portion of long-term debt                                             $               6 $               6        0%
  Notes payable                                                                                 9               336       -97 %
  Accounts payable                                                                        2,612            2,279          15 %
  Accrued liabilities                                                                     5,010            3,269          53 %
  Income taxes payable                                                                        229               150       53 %
Total current liabilities                                                                 7,866            6,040          30 %
  Long-term debt                                                                          3,464            3,468           0%
  Deferred income taxes and other liabilities                                             3,347            3,216           4%
  Redeemable preferred stock                                                                   —                 —         —
  Shareholders’ equity                                                                    9,040            9,812           -8 %
TOTAL LIABILITIES AND SHAREHOLDERS ’ EQUITY                                     $        23,717 $         22,536           5%




                                                                                                          Exhibit 3 - page 6
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                                                                          NIKE, Inc.
                                                                  DIVISIONAL REVENUES
                                                                              (Unaudited)


                                                                                      % Change                                                    % Change
                                        THREE MONTHS ENDED                %           Excluding     TWELVE MONTHS ENDED                %          Excluding
                                                                                      Currency                                                    Currency
(Dollars in millions)                   5/31/2019     5/31/2018         Change        Changes 1         5/31/2019     5/31/2018    Change         Changes 1
North America
     Footwear                       $       2,736 $        2,525           8%                9%     $      10,045 $        9,322         8%               8%
     Apparel                                1,275          1,207           6%                6%             5,260          4,938         7%               7%
     Equipment                                154            143           8%                7%               597           595          0%               0%
        Total                               4,165          3,875           7%                8%            15,902        14,855          7%               7%
Europe, Middle East & Africa
     Footwear                               1,643          1,625           1%               11 %            6,293          5,875         7%              12 %
     Apparel                                  713            741           -4 %              5%             3,087          2,940         5%               9%
     Equipment                                101            100           1%               10 %              432           427          1%               5%
        Total                               2,457          2,466           0%                9%             9,812          9,242         6%              11 %
Greater China
     Footwear                               1,167          1,003          16 %              23 %            4,262          3,496       22 %              25 %
     Apparel                                  494            434          14 %              21 %            1,808          1,508       20 %              23 %
     Equipment                                 36             31          16 %              20 %              138           130          6%               8%
        Total                               1,697          1,468          16 %              22 %            6,208          5,134       21 %              24 %
Asia Pacific & Latin America
     Footwear                                 953            991           -4 %              9%             3,622          3,575         1%              12 %
     Apparel                                  363            383           -5 %              8%             1,395          1,347         4%              15 %
     Equipment                                 63             62           2%               15 %              237           244         -3 %              8%
        Total                               1,379          1,436           -4 %              9%             5,254          5,166         2%              13 %
Global Brand Divisions 2                        9             24          -63 %             -64 %              42            88        -52 %             -53 %
TOTAL NIKE BRAND                            9,707          9,269           5%               10 %           37,218        34,485          8%              11 %
Converse                                      491            512           -4 %              0%             1,906          1,886         1%               3%
Corporate 3                                   (14)                8       —                 —                   (7)          26         —                —
TOTAL NIKE, INC. REVENUES $                10,184 $        9,789           4%               10 %    $      39,117 $      36,397          7%              11 %


TOTAL NIKE BRAND
     Footwear                       $       6,499 $        6,144           6%               12 %    $      24,222 $      22,268          9%              12 %
     Apparel                                2,845          2,765           3%                8%            11,550        10,733          8%              11 %
     Equipment                                354            336           5%               11 %            1,404          1,396         1%               4%
     Global Brand Divisions 2                   9             24          -63 %             -64 %              42            88        -52 %             -53 %
TOTAL NIKE BRAND
REVENUES                            $       9,707 $        9,269           5%               10 %    $      37,218 $      34,485          8%              11 %
1
   The percent change has been calculated using actual exchange rates in use during the comparative prior year period to enhance the visibility of the
underlying business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-GAAP
financial measure.
2
    Global Brand Divisions revenues are primarily attributable to NIKE Brand licensing businesses that are not part of a geographic operating segment.
3 Corporate revenues consist primarily of foreign currency hedge gains and losses related to revenues generated by entities within the NIKE Brand geographic

operating segments and Converse but managed through the Company’s central foreign exchange risk management program.




                                                                                                                                      Exhibit 3 - page 7
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                                                                           NIKE, Inc.
                                              SUPPLEMENTAL NIKE BRAND REVENUE DETAILS
                                                                              (Unaudited)

                                                                                                                                                  % Change
                                                                                                                                                  Excluding
                                                                                                TWELVE MONTHS ENDED                 %             Currency
(Dollars in millions)                                                                           5/31/2019       5/31/2018 1      Change           Changes 2
NIKE Brand Revenues by:
     Sales to Wholesale Customers                                                           $        25,423 $        23,969              6%              10 %
     Sales through NIKE Direct                                                                       11,753          10,428             13 %             16 %
     Global Brand Divisions 3                                                                            42               88            -52 %            -53 %
TOTAL NIKE BRAND REVENUES                                                                   $        37,218 $        34,485              8%              11 %


NIKE Brand Revenues on a Wholesale Equivalent Basis: 4
     Sales to Wholesale Customers                                                           $        25,423 $        23,969              6%              10 %
     Sales from our Wholesale Operations to NIKE Direct Operations                                    7,127            6,332            13 %             16 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                              $        32,550 $        30,301              7%              11 %


NIKE Brand Wholesale Equivalent Revenues by: 4
   Men’s                                                                                    $        17,737 $        16,698              6%              10 %
     Women’s                                                                                          7,380            6,913             7%              11 %
     NIKE Kids’                                                                                       5,283            4,906             8%              11 %
     Others 5                                                                                         2,150            1,784            21 %             25 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                              $        32,550 $        30,301              7%              11 %


NIKE Brand Wholesale Equivalent Revenues by: 4
   Running                                                                                  $         4,488 $          4,496             0%                 4%
     NIKE Basketball                                                                                  1,597            1,494             7%                 9%
     Jordan Brand                                                                                     3,138            2,856            10 %             12 %
     Football (Soccer)                                                                                1,894            2,146            -12 %             -6 %
     Training                                                                                         3,137            3,126             0%                 3%
     Sportswear                                                                                      12,442          10,720             16 %             21 %
     Others 6                                                                                         5,854            5,463             7%                 9%
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                              $        32,550 $        30,301              7%              11 %
1 Certain prior year amounts have been reclassified to conform to fiscal 2019 presentation. These changes had no impact on previously reported consolidated

results of operations or shareholders’ equity.
2 The percent change has been calculated using actual exchange rates in use during the comparative prior year period to enhance the visibility of the underlying

business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-GAAP financial
measure.
3
    Global Brand Divisions revenues are primarily attributable to NIKE Brand licensing businesses that are not part of a geographic operating segment.
4 References to NIKE Brand wholesale equivalent revenues, which are considered non-GAAP financial measures, are intended to provide context as to the

total size of the Company’s NIKE Brand market footprint if it had no NIKE Direct operations. NIKE Brand wholesale equivalent revenues consist of 1) sales to
external wholesale customers and 2) internal sales from the Company’s wholesale operations to its NIKE Direct operations which are charged at prices that are
comparable to prices charged to external wholesale customers.
5
  Others include all unisex products, equipment and other products not allocated to Men’s, Women’s and NIKE Kids’, as well as certain adjustments that are not
allocated to products designated by gender or age.
6
    Others include all other categories and certain adjustments that are not allocated at the category level.




                                                                                                                                        Exhibit 3 - page 8
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                                                                        NIKE, Inc.
                                              EARNINGS BEFORE INTEREST AND TAXES 1
                                                                          (Unaudited)


                                                                    THREE MONTHS ENDED                 %         TWELVE MONTHS ENDED                %
(Dollars in millions)                                                  5/31/2019     5/31/2018     Change           5/31/2019     5/31/2018      Change
North America                                                      $       1,048 $         975             7%   $       3,925 $       3,600             9%
Europe, Middle East & Africa                                                 506           382          32 %            1,995         1,587            26 %
Greater China                                                                674           539          25 %            2,376         1,807            31 %
Asia Pacific & Latin America                                                 340           340             0%           1,323         1,189            11 %
Global Brand Divisions   2                                                  (830)         (732)         -13 %          (3,262)       (2,658)         -23 %
TOTAL NIKE BRAND                                                           1,738         1,504          16 %            6,357         5,525            15 %
Converse                                                                      82           104          -21 %             303           310             -2 %
Corporate   3                                                               (565)         (381)         -48 %          (1,810)       (1,456)         -24 %
TOTAL NIKE, INC. EARNINGS BEFORE INTEREST AND
TAXES                                                                      1,255         1,227             2%           4,850         4,379            11 %
Interest expense (income), net                                                12            12             —               49            54             —
TOTAL NIKE, INC. INCOME BEFORE INCOME TAXES                        $       1,243 $       1,215             2%   $       4,801 $       4,325            11 %
1
 The Company evaluates performance of individual operating segments based on earnings before interest and taxes (commonly referred to as “EBIT”), which
represents net income before interest expense (income), net and income tax expense.
2
 Global Brand Divisions primarily represent demand creation, operating overhead and product creation and design expenses that are centrally managed for
the NIKE Brand. Revenues for Global Brand Divisions are primarily attributable to NIKE Brand licensing businesses that are not part of a geographic operating
segment.
3 Corporate consists primarily of unallocated general and administrative expenses, including expenses associated with centrally managed departments;

depreciation and amortization related to the Company’s corporate headquarters; unallocated insurance, benefit and compensation programs, including stock-
based compensation; and certain foreign currency gains and losses, including certain hedge gains and losses.




                                                                                                                                    Exhibit 3 - page 9
